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14                               UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16

17    IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
      LIABILITY LITIGATION,
18                                                   Case No.: 3:16-md-02741-VC

19    Douglas Harris v. Monsanto Co.                 DEFENDANT MONSANTO
      Case No.: 3:16-cv-05786-VC                     COMPANY’S OPPOSITION TO
20                                                   PLAINTIFF’S MOTION FOR
21                                                   SUGGESTION OF REMAND

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 1   I.       Introduction
 2            Plaintiff’s Motion for Suggestion of Remand (the “Motion”) rests on two contentions. First,

 3   Plaintiff claims that he “has waited longer than any other Plaintiff in this litigation for resolution.”

 4   Second, he states that the parties have conducted pretrial discovery and briefed certain pretrial issues.

 5   But Plaintiff also acknowledges that Monsanto’s Motion to Exclude the Testimony of Dr. Martyn

 6   Smith—his general causation expert—remains pending. This fact, which Plaintiff does not

 7   meaningfully address in the Motion, is fatal to his request for a suggestion of remand.

 8            The United States Judicial Panel on Multidistrict Litigation (the “JPML”) transferred this action

 9   to this Court because it involves issues common to all cases consolidated in this Multidistrict Litigation
10   (“MDL”). One such issue is general causation, i.e. whether glyphosate is generally capable of causing

11   non-Hodgkin’s lymphoma in humans at real-world exposure levels. In its Order of Conditional

12   Transfer, the JPML advised that a suggestion of remand would only be appropriate after this Court had

13   an opportunity to resolve all pretrial proceedings on the common issues, including general causation.

14            Plaintiff filed several pretrial motions, including a motion to exclude Monsanto’s causation

15   expert under Rule of Evidence 702 and Daubert. The Court has since ruled on these pretrial motions.

16   Having obtained these rulings, Plaintiff now seeks to deny Monsanto the very same benefit of this

17   Court’s guidance on causation issues. That one-sided procedural outcome is not what the JPML

18   envisioned when it transferred this action. Monsanto respectfully requests that the Court deny the

19   Motion until it rules on Monsanto’s motion to exclude Dr. Smith. Doing so will advance this Court’s

20   interests in avoiding inconsistent pretrial rulings and conserving the resources of the parties, their

21   counsel, and the judiciary.

22   II.      Background
23            Plaintiff filed this action on July 20, 2016. See Dkt. No. 1. Like the other plaintiffs in this MDL,

24   he alleges that “[a]s a direct and proximate result of being exposed to Roundup” and its active

25   ingredient, glyphosate, he “developed non-Hodgkin’s lymphoma.” Dkt. No. 7 at ¶ 8. The operative

26   complaint acknowledges this legal and factual overlap, comparing the injuries at issue here to those

27   suffered by “thousands of similarly situated victims across the country.” Id. at ¶ 3 (emphasis added).

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 1          On October 6, 2016, the JPML transferred this action to this Court. Dkt. No. 17; MDL Dkt. No.

 2   1. In doing so, the JPML emphasized the “efficiencies to be gained by centralization” based on the

 3   common questions posed by the general causation inquiry: “all the actions entail an overarching

 4   query—whether glyphosate causes non-Hodgkin’s lymphoma in persons exposed to it while using

 5   Roundup.” Id. at 2; see also id. (“[i]ssues concerning general causation, the background science, and

 6   regulatory history will be common to all actions. Centralization will eliminate duplicative discovery;

 7   prevent inconsistent pretrial rulings (including with respect to … Daubert motion practice); and

 8   conserve the resources of the parties, their counsel, and the judiciary”). The JPML contemplated that

 9   “[w]hen discovery and other pretrial proceedings related to the common issues have been completed,
10   the transferee judge may suggest Section 1407 remand of the actions to their transferor courts for more

11   individual discovery and trial, if necessary.” Id. (emphasis added).

12          Nearly eight years after he filed this action, on February 27, 2024, Plaintiff filed a Motion to

13   Assign Case to Wave 7 (the “Motion to Assign”). Dkt. No. 25 at 1:19-21; MDL Dkt. No 17984. He

14   claimed that “[i]n September 2020, [his] lawyers … executed a Master Settlement Agreement (MSA)”

15   with Monsanto. Id. at ¶ 2. Plaintiff, however, rejected his individual settlement offer, and for the next

16   two years he attempted to mediate his claims without success. Id. at ¶¶ 4-5. On December 14, 2023,

17   Plaintiff rejected yet another settlement offer from Special Master Kenneth R. Feinberg. Id. at ¶ 7.

18          On March 6, 2024, the Court granted the Motion to Assign and assigned this action to Wave

19   7G. See Dkt. No. 27; MDL Dkt. No. 18018.

20          Plaintiff served his expert disclosure on June 7, 2024. See Dkt. No. 32-16; MDL Dkt. No.

21   18985-16. The disclosure lists Dr. Smith as a general causation expert and states that he will testify that

22   “glyphosate is a probable human carcinogen and that exposure to glyphosate and glyphosate-based

23   formulations is a probable cause of NHL in humans.” Id. at 3:15-16.

24          On August 9, 2024, Plaintiff filed a Motion for Partial Summary Judgment and a Motion to

25   Partially Exclude the Specific Causation Testimony of Dr. William Fleming. See Dkt. Nos. 29-30;

26   MDL Dkt. Nos. 18972, 18979. Monsanto, in turn, filed motions to exclude the testimony of Plaintiff’s

27   disclosed experts, Drs. Dennis Weisenburger, Chadhi Nabhan, and Martyn Smith. See Dkt. Nos. 31-

28   33; MDL Dkt. Nos. 18985-18986, 18992.


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 1          In its Motion to Exclude the Testimony of Dr. Smith, Monsanto raised several challenges to Dr.

 2   Smith’s contemplated expert testimony. First, Dr. Smith’s treatment of the epidemiological evidence

 3   is unreliable, warranting complete exclusion. See, e.g., Dkt. No. 47 at 3:13-6:8 (citing Hardeman v.

 4   Monsanto Co., 997 F.3d 941, 963 (9th Cir. 2021) for the proposition that “experts must have reliably

 5   based their general causation opinions on epidemiological evidence showing a connection between

 6   glyphosate and cancer”); MDL Dkt. No. 19528 at 3:13-6:8 (same). Second, his novel “Key

 7   Characteristics” methodology is neither reliable nor helpful. Dkt. No. 32 at 4:3-7:11; MDL Dkt. No.

 8   18985 at 4:3-7:11. Third, and finally, his remaining opinions regarding trace impurities and other

 9   subjects are neither grounded in science, nor do they reflect the reliable application of a reliable
10   methodology. See id. at 7:21-12:3.

11          The Court denied Plaintiff’s summary judgment motion on September 25, 2024. Dkt. No. 40;

12   MDL Dkt. No. 19293. On November 18, 2024, the Court granted in part Plaintiff’s motion to exclude

13   Dr. Fleming. Dkt. No. 50; MDL Dkt. No. 19764. And on January 14, 2025, it granted in part

14   Monsanto’s motion to exclude Dr. Nabhan. Dkt. No. 51; MDL Dkt. No. 20021. The motion to exclude

15   Dr. Smith, however, remains pending.

16   III.   Legal Standard
17          Section 1407 provides that “[w]hen civil actions involving one or more common questions of

18   fact are pending in different jurisdictions, such actions may be transferred to any district for coordinated

19   or consolidated pretrial proceedings. Such transfers shall be made by the [JPML] … upon its

20   determination that transfers for such proceedings will be for the convenience of the parties and

21   witnesses and will promote the just and efficient conduct of such actions.” 28 U.S.C. § 1407(a); see

22   also In re Darvocet, Darvon & Propoxyphene Prods. Liab. Litig., 780 F. Supp. 2d 1379, 1381 (J.P.M.L.

23   2011) (“the Panel’s judgment is that, on balance, transfer of these cases under Section 1407 will allow

24   a single judge to formulate a pretrial program that prevents duplicative proceedings on common issues

25   and allows pretrial procedures on case specific issues to proceed either concurrently or after Section

26   1407 remand”). “Each action so transferred shall be remanded by the panel at or before the conclusion

27   of such pretrial proceedings.” 28 U.S.C. § 1407(a).

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 1          Under Section 1407, a suggestion of remand is appropriate “when the … action or claim is, in

 2   fact, ready for trial, or otherwise ready for remand because the common pretrial proceedings pertaining

 3   to that action or claim have been completed and the action would no longer benefit from inclusion in

 4   the coordinated or consolidated pretrial proceedings.” In re Multi-Piece Rim Prods. Liab. Litig., 464 F.

 5   Supp. 969, 975 (J.P.M.L. 1979). Thus, “the default under the statute is that an action is remanded to its

 6   transferor court at the conclusion of pretrial proceedings.” In re Generic Pharms. Pricing Antitrust

 7   Litig., 717 F. Supp. 3d 1361, 1365 (J.P.M.L. 2024) (emphasis added). “Remand is inappropriate …

 8   when continued consolidation will ‘eliminate duplicative discovery, prevent inconsistent pretrial

 9   rulings, and conserve the resources of the parties, their counsel, and the judiciary.’” In re Midland
10   Credit Mgmt., Inc., Tel. Consumer Prot. Act Litig., 2020 WL 7687866, at *4 (S.D. Cal. Nov. 20, 2020).

11   IV.    Argument
12          The JPML transferred this action to this Court because it involves “issues concerning general

13   causation” that are “common to all [Roundup] actions.” Under the JPML’s Order of Conditional

14   Transfer and the principles described in Section III, this action is not ripe for remand until the “pretrial

15   proceedings relating to the common issues have been completed” and continued consolidation will no

16   longer advance the “efficiencies to be gained by centralization.” See Dkt. No. 17; MDL Dkt. No. 1; In

17   re Midland Credit Mgmt., Inc., 2020 WL 7687866, at *4.

18          Plaintiff does not address these considerations in his Motion. Instead, he focuses on the fact that

19   he “was one of the first people to file a Roundup case.” See Dkt. No. 52 at 1:24-25; MDL Dkt. No.

20   20264 at 1:24-25. Of course, the Court assigned this case to Wave 7G at Plaintiff’s request. See Dkt.

21   No. 25; MDL Dkt. No 17984. Thus, even if mere delay was sufficient on its own—Plaintiff cites no

22   authority suggesting that it is—the Court should deny the Motion.

23          In any event, Plaintiff cannot credibly argue that this case is ripe for remand based on its

24   procedural posture. He designated Dr. Smith to address an “overarching inquiry”—general causation—

25   that caused the JPML to transfer this action in the first place. Monsanto then filed the motion to exclude

26   Dr. Smith, arguing that his general causation opinions and contemplated testimony should be excluded

27   in their entirety. That motion is precisely the type of pretrial matter that has been reserved for this

28   Court’s determination, and it remains pending today. See Pretrial Order No. 202 at 1-2 (“motions to


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 1   exclude expert testimony regarding causation are appropriate for adjudication by this Court, because

 2   that testimony is so closely intertwined with the summary judgment motions relating to causation”).

 3   Plaintiff’s request for a suggestion of remand should be denied for the threshold reason that the pretrial

 4   proceedings on general causation have not been completed. See Multi-Piece Rim Prods. Liab. Litig.,

 5   464 F. Supp. at 975 (remand is proper when “the common pretrial proceedings … have been

 6   completed”).

 7            Further, the factors discussed in In re Midland weigh in favor of continued consolidation. The

 8   Court has already ruled on several pretrial motions in this action, including two motions to exclude

 9   under Daubert and controlling Ninth Circuit precedent. See Dkt. Nos. 40, 50, 51; MDL Dkt. Nos.
10   19764, 19293, 20021. Remanding this action while the motion to exclude Dr. Smith remains pending—

11   thereby requiring the parties to brief the motion a second time before another court—would undermine

12   the Court’s interest in preventing inconsistent pretrial rulings and invite forum-shopping.

13            Nor would issuing a suggestion of remand conserve the resources of the parties, their counsel,

14   or the judiciary. The parties briefed the motion to exclude Dr. Smith, submitting 36 exhibits and citing

15   numerous epidemiological, toxicological, and other scientific studies. See Dkt. Nos. 32, 41, 47; MDL

16   Dkt. Nos. 18985, 19414, 19528. Monsanto’s arguments rely on this Court’s prior orders. See, e.g., Dkt.

17   No. 32 at 11:11-13 (citing Pretrial Order No. 288); MDL Dkt. No. 18985 at 11:11-13 (same). Still other

18   arguments address advances in the epidemiological literature since the Court issued Pretrial Order No.

19   45 in 2018. See Dkt. No. 47 at 3:12-6:8; MDL Dkt. No. 19528 at 3:12-6:8 (same). Remanding this

20   action now would require the parties to duplicate this extensive briefing and require another court—

21   presumably one less familiar with this mass litigation than this Court—to brush up on seven years of

22   law and decades of science. See Pretrial Order No. 265 at 2 (denying motion for suggestion of remand

23   because “the parties … may benefit from proceeding here, where claims against Monsanto have been

24   litigated for over five years” and based on the Court’s “role in adjudicating the claims against Monsanto

25   in the MDL”).

26            Plaintiff’s request for a suggestion of remand is premature and should be denied.

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 1   V.      Conclusion
 2           Having obtained the benefit of this Court’s rulings on his pretrial motions, Plaintiff now seeks

 3   to deny Monsanto the same benefit. But when the JPML transferred this action to this Court, it

 4   understood that a suggestion of remand under Section 1407 would be unwarranted until “pretrial

 5   proceedings related to the common issues” had been completed. This is the “default” presumption

 6   under the statute, and with good reason: the interests in promoting consistent pretrial rulings and

 7   conserving the resources of the parties, their counsel, and the judiciary will be undermined if this Court

 8   is not permitted to address the “overarching inquiry” of general causation.

 9           Plaintiff ignores all of these considerations, suggesting (with no support) that a suggestion of
10   remand is appropriate because his claims have been pending for several years, and because the parties

11   have conducted some pretrial discovery. Monsanto respectfully requests that the Court decline to issue

12   a suggestion of remand until it rules on Monsanto’s pending Motion to Exclude the Testimony of Dr.

13   Smith. Doing so will advance the judiciary’s stated interests and the policy considerations supporting

14   the MDL architecture.

15   Dated: March 6, 2025                          Respectfully submitted,

16                                                 BRYAN CAVE LEIGHTON PAISNER LLP
17
                                                   By: /s/ Linda C. Hsu
18                                                        Linda C. Hsu
                                                   Attorneys for Defendant Monsanto Company
19

20
                                        CERTIFICATE OF SERVICE
21           I HEREBY CERTIFY that on March 6, 2025, a copy of the foregoing was filed with the Clerk
     of the Court through the CM/ECF system, which sent notice of the filing to all appearing parties of
22   record.
23
                                                   /s/ Linda C. Hsu
24                                                     Linda C. Hsu
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